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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

                     Plaintiff,

                     v.                                04-CR-222S - 03

KENNETH ARTHUR MEGO,

                Defendant.
_____________________________________


                     REPORT, RECOMMENDATION AND ORDER

              This case was referred to the undersigned by the Hon. William M.

Skretny, in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear

and report upon dispositive motions.



                              PRELIMINARY STATEMENT

              The defendant, Kenneth Arthur Mego (“the defendant”), is charged along

with thirteen co-defendants in a multicount indictment with having violated Title 21

U.S.C. §§ 841(c)(2), 846 (Count 1), §§ 841(b)(1)(A), 846 (Count 2), § 841(c)(2) and

Title 18 U.S.C. § 2 (Counts 4 and 5), and a forfeiture count (Count 8) pursuant to Title

21 U.S.C. §§ 853(a)(1), 853(a)(2), 853(a)((3) and 853(p). (Docket #8). The defendant

has filed a motion wherein he seeks “suppression under Rule 12 of the Federal Rules

of Criminal Procedure, of all evidence and/or information acquired as a result of the

electronic surveillance utilized during this investigation.” (Docket #40). In support of

this motion, the defendant asserts there was a lack of “necessity;” a “sealing violation”
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and “taint.” (Docket #40, ¶ 26).



                                         FACTS

             On May 14, 2004, the Hon. John T. Elfvin issued an Order authorizing the

interception of wire communications pursuant to Title 18 U.S.C. § 2518 to and from the

“telephone facility bearing the number 716/947-0163, a residential telephone

subscribed to by Sandra Jacobi,” and telephone number “716/863-8669,” a “cellular

telephone subscribed to by Jacobi’s Restaurant, c/o John/Sandy Jacobi, 1404 Abbott

Road, Buffalo, New York” based on the affidavit of Special Agent (“S.A.”) Mark Gentile

of the DEA sworn to May 14, 2004. Thereafter, orders extending the authorization for

the interception of wire communications to and from the aforesaid telephones were

issued on June 11, 2004 by the Hon. William M. Skretny, and on July 9, 2004 by the

Hon. John T. Elfvin. In all of these Orders, the defendant is referenced as an

“interceptee/violator” of 21 U.S.C. §§ 841(c)(1), 843(a)(7), 843(b) and 846.



             Conversations in which the defendant was a participant were intercepted

pursuant to the aforesaid Orders and therefore the defendant is an “aggrieved” person

under 18 U.S.C. § 2510(ll).




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                               DISCUSSION AND ANALYSIS

                1.    The Probable Cause Issue:

                The defendant argues that “the application and each extension fails to

provide the requisite probable cause showing with respect to the telephones listed to

the Jacobi’s (sic) as they relate to [the defendant]” and that the “factual information

contained in the applications and extensions contains simply conclusionary allegations

of the applicant.” (Docket #40, ¶¶ 28 and 29). As a result, he concludes that “all

evidence and/or information acquired” as it relates to him should be suppressed.

(Docket #40, ¶ 46).



                Basically, the defendant is requesting that a review of Judge Elfvin’s

decision in issuing the Intercept Order of May 14, 2004 be made so as to conclude that

such order was improperly issued. The role of this Court in conducting such a review is

no different than that conducted by a court of appeals and therefore, the admonition of

the Second Circuit Court of Appeals is appropriately applied in this process wherein the

court stated:


                “In reviewing a ruling on a motion to suppress wiretap
                evidence, we accord deference to the district court.” Miller,
                116 F.3d at 663 (quoting Torres, 901 F.2d at 231). Our role
                in reviewing the issuance of a wiretap order is not to make a
                de novo determination of the sufficiency of the application,
                “but to decide if the facts set forth in the application were
                minimally adequate to support the determination that was
                made.” Id.



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United States v. Diaz, 176 F.3d 52, 109 (2d Cir.), cert. denied by Rivera v. United

States, 528 U.S. 875 (1999).



              S.A. Gentile submitted an affidavit sworn to May 14, 2004 consisting of

sixty-two typewritten pages wherein he described in substantial detail an “overview of

[a] drug trafficking organization” in which the defendant was a participant during the

period “between June 2003 and May 2004.” (May 14, 2004 affidavit of S.A. Gentile,

¶ 72) based on a joint investigation conducted by United States and Canadian law

enforcement agencies. S.A. Gentile iterates specific details of drug activity by the

defendant in conjunction with other members of the drug trafficking organization. (See

¶¶ 60, 65-71, 94(g), (j) May 14, 2004 affidavit of S.A. Gentile). An agent’s training and

experience can be considered in determining whether probable cause exists. U.S. v.

Fama, 758 F.2d 834, 838 (2d Cir. 1985), cert. denied, 486 U.S. 1043 (1987).



              As the Second Circuit Court of Appeals has stated, “the standard for

probable cause applicable to [18 U.S.C.] § 2518 is ‘the same as the standard for a

regular search warrant. Under Illinois v. Gates, 462 U.S. 213, 103 S.Ct. 2317, 76 L.Ed.

2d 527 (1983), probable cause for a search warrant is established if the totality-of-the-

circumstances’ indicate a probability of criminal activity. See id. at 230-32, 103 S.Ct.

2317.” United States v. Diaz, 176 F.3d at 110. Considering the totality of the

circumstances set forth in the Affidavit of S.A. Gentile in support of the application for

the May 14, 2004 intercept order, the facts set forth in the application were adequate to



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support a finding of probable cause for the issuance of the May 14, 2004 intercept

order and such finding is in further deference to the findings made by Judges Elfvin and

Skretny in authorizing the Order of May 14, 2004 and the subsequent Orders at issue.

United States v. Diaz, 176 F.2d at 109.



              Therefore, it is RECOMMENDED that defendant’s motion to suppress the

“electronic eavesdropping evidence” on the basis that there was “no probable” cause

for the issuance of the eavesdrop orders at issue be DENIED.



              2.     The “Necessity” Issue:

              The defendant argues that “the applications and extensions for the

eavesdrop warrants of May 14, 2004, June 11, 2004 and July 9, 2004 failed to establish

the prerequisite necessity” since “the applications clearly demonstrate use of physical

surveillance as a productive investigative tool” and failed to address the use of

“confidential informants who might have assisted this investigation” or “whether there

was any attempt by the agent to deal directly with any of the targeted individuals in the

application.” (Docket #40, ¶¶ 36, 37, 40, 41).



              In his affidavit of May 14, 2004, S.A. Gentile acknowledges that

“substantial information [had] been gathered against [the defendant] from both the

Buffalo Resident Office and the DEA Sacramento Division Office investigations” but

asserted that the investigations had “not revealed the full scope of [the defendant’s]



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activities” and that “interceptions of conversations over the target telephones [would]

result in the seizure and admissibility of highly relevant and incriminating conversations

between [the defendant and his] sources of supply, other known interceptees, and as

yet unknown co-conspirators.”



              Title 18 U.S.C. § 2518(1)(c) requires that:

              a full and complete statement as to whether or not other
              investigative procedures have been tried and failed or why
              they reasonably appear to be unlikely to succeed if tried or
              to be too dangerous.


              The application for the Intercept Order of May 14, 2004 was based upon a

sixty-two (62) typewritten page affidavit of S.A. Gentile of the DEA wherein he describes

in great detail the history of the investigation to date and information obtained based on

use of confidential informants, physical surveillance, pen registers and review of toll

records. S.A. Gentile states that these normal avenues of investigation have been

evaluated for use or have been attempted with only limited results. He further states

that the convening of a federal grand jury, interview of subjects and the execution of

search warrants would not be likely to succeed and would undoubtedly alert the target

subjects of the investigation. Once again, the training and experience of the agent can

be considered in this context of “necessity.” United States v. Fama, supra.



              Since the holding in United States v. Torres, 901 F.2d 205 (2d Cir.), cert.

denied 498 U.S. 906 (1990), addresses the issue raised by the defendant on whether



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18 U.S.C. § 2518(1)(c) was complied with, it is worthwhile to sacrifice brevity and set

forth that Court’s ruling in detail.



               Section 2518(1)(c) requires that an application for such an
               interception shall include “a full and complete statement as
               to whether or not other investigative procedures have been
               tried and failed or why they reasonably appear to be unlikely
               to succeed if tried or to be too dangerous. . . .” Similarly,
               section 2518(3)(c) requires the judge to whom an application
               for a wiretap is made to determine, as a condition of
               authorizing the tap, that “normal investigative procedures
               have been tried and have failed or reasonably appear to be
               unlikely to succeed if tried or to be too dangerous. . . .”


               The application for the wiretap in this case was based upon
               a thirty-six page affidavit by DEA agent Timothy J. Sullivan
               dated May 27, 1987. Flores contends that when the
               application for a wiretap was made, traditional law
               enforcement methods had already achieved “extraordinary
               success . . . in penetrating the deepest reaches of the
               Torres Organization,” and that the “affidavit utterly failed to
               establish, even on a superficial level, that less intrusive
               techniques had not been successful and could not be
               successful.” In advancing this position, Flores points out
               that our decision in United States v. Lilla, 699 F.2d 99 (2d
               Cir. 1983), precludes the authorization of wiretaps based
               upon “generalized and conclusory statements that other
               investigative procedures would prove unsuccessful,” id. at
               104. Flores also argues that it does not suffice to show that
               a case belongs to some general class of cases which
               require wiretap investigation, citing United States v.
               Kalustian, 529 F.2d 585, 589 (9th Cir. 1975) (gambling case).

               We are unpersuaded, and conclude that the application in
               this case provided a sufficient basis for authorizing the
               Flores wiretap. Section 2518 “is simply designed to assure
               that wiretapping is not resorted to in situations where
               traditional investigative techniques would suffice to expose
               the crime.” United States v. Kahn, 415 U.S. 143, 153 n. 12,
               94 S.Ct. 977, 983 n. 12, 39 L.Ed.2d 225 (1974). As we have


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      stated:

             “[T]he purpose of the statutory requirements is
             not to preclude resort to electronic surveillance
             until after all other possible means of
             investigation have been exhausted by
             investigative agents; rather, they only require
             that the agents inform the authorizing judicial
             officer of the nature and progress of the
             investigation and of the difficulties inherent in
             the use of normal law enforcement methods.”

      United States v. Vazquez, 605 F.2d 1269, 1282 (2d Cir.
      1979) (quoting United States v. Hinton, 543 F.2d 1002, 1011
      (2d Cir.), cert. denied, 429 U.S. 980, 97 S.Ct. 493, 50
      L.Ed.2d 589 (1976)), cert. denied, 444 U.S. 981, 100 S.Ct.
      484, 62 L.Ed.2d 408 (1979), 1019, 100 S.Ct. 674, 62
      L.Ed.2d 649 (1980); see also United States v. Fury, 554
      F.2d 522, 530 (2d Cir), cert. denied, 433 U.S. 910, 97 S.Ct.
      2978, 53 L.Ed.2d 1095 (1977).

      The role of an appeals court in reviewing the issuance of a
      wiretap order, furthermore, “is not to make a de novo
      determination of sufficiency as if it were a district judge, but
      to decide if the facts set forth in the application were
      minimally adequate to support the determination that was
      made.” United States v. Scibelli, 549 F.2d 222, 226 (1st Cir.)
      (collecting cases), cert. denied, 431 U.S. 960, 97 S.Ct. 2687,
      53 L.Ed.2d 278 (1977). And, as the Scibelli court went on to
      say:

             [I]n determining the sufficiency of the
             application a reviewing court must test it in a
             practical and common sense manner. The
             legislative history makes clear that section
             2518(1)(c) is not designed to force the
             Government to have exhausted all “other
             investigative procedures”.

             “The judgment [of the district judge] would
             involve a consideration of all the facts and
             circumstances. Normal investigative
             procedure would include, for example,
             standard visual or aural surveillance


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                    techniques by law enforcement officers,
                    general questioning or interrogation under an
                    immunity grant, use of regular search warrants,
                    and the infiltration of conspiratorial groups by
                    undercover agents or informants. Merely
                    because a normal investigative technique is
                    theoretically possible, it does not follow that it
                    is likely. What the provision envisions is that
                    the showing be tested in a practical and
                    commonsense fashion.

                    S.Rep. No. 1097, 90th Cong., 2d Sess., 1968
                    U.S.Code Cong. & Admin.News, p. 2190.
                    Scibelli, 549 F.2d at 226 (citations omitted).

Id. at 231-232) (brackets included); See also Diaz, supra 111.



             Giving proper deference to Judge Elfvin’s review and acceptance of the

sixty-two (62) page affidavit of S.A. Gentile sworn to May 14, 2004 in support of the

application for the Intercept Order and his decision to grant said application and issue

the order in question, it is concluded that Judge Elfvin “properly found that conventional

investigative techniques had been exhausted and that alternatives to wire interception

would be unlikely to succeed or would be too dangerous.” Id. at 111.



             Therefore, it is RECOMMENDED that defendant’s motion to suppress the

electronic evidence on the basis of “non-necessity” be DENIED.



             3.     The “Sealing” Issue:

             Counsel for the defendant represents that he “has been provided with one

(1) order of the Hon. William M. Skretny, United States District Judge dated August 9,


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2004" and characterizes it “as the only sealing order some three (3) months after the

initial warrant.” (Docket #40, ¶ 44). The defendant argues that this was an improper

delay since the statute requires “that tape recordings generated during the execution of

an eavesdrop warrant must be ‘immediately’ made available to the issuing judge upon

expiration of the interception for sealing. Consequently, suppression should be

ordered.” (Docket #40, ¶ 44).



             In the “sealing application” dated August 9, 2004, counsel for the

government states that electronic surveillance pursuant to the Orders of May 14, 2004,

June 11, 2004 and July 9, 2004 "continued up through August 7, 2004,” which this

Court understands to mean that such surveillance terminated as of August 7, 2004.

The application seeking an order from Judge Skretny to have the recordings and

original line sheets sealed was submitted to Judge Skretny on August 9, 2004 and

Judge Skretny issued such sealing order on that date.



             18 U.S.C. § 2518(8)(a) provides as follows:

             Immediately upon the expiration of the period of the order, or
             extensions thereof, such recordings shall be made available
             to the judge issuing such order and sealed under his
             directions.


             The term “immediately” has been given a liberal interpretation by the

Court of Appeals for the Second Circuit for purposes of determining issues related to

claims of untimely sealing of tapes as evidenced by the following:



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             This Court has held that a sealing “within one or two days”
             will normally be deemed immediate within the meaning of
             § 2518(8)(a), United States v. Maldonado-Rivera, 922 F.2d
             934, 949 (2d Cir. 1990) (quoting United States v. Vasquez,
             605 F.2d 1269, 1278 (2d Cir. 1979); cert. denied, 444 U.S.
             981, 100 S.Ct. 484, 62 L.Ed.2d 408 (1979), 444 U.S. 1019,
             100 S.Ct. 2811, 115 L.Ed.2d 984, 501 U.S. 1233, 111 S.Ct.
             2858, 115 L.Ed.2d 1025 (1991) and that longer delays
             require suppression “unless the government furnishes an
             explanation for the delay that is ‘satisfactory’ within the
             meaning of the statute.” Id., see supra note 5. Where the
             delay is between two and five days, we have indicated that
             the government should submit with the tapes an in camera
             explanation for the delay, see United States v. Massino, 784
             F.2d 153, 158 (2d Cir. 1986), although an explanation
             submitted at the time of a defendant’s motion to suppress
             will be considered. See United States v. Pitera, 5 F.3d 624,
             627 (2d Cir. 1993), cert. denied, ___ U.S. ___, 114 S.Ct.
             1103, 127 L.Ed.2d 415 (1994).

             We have recognized that weekends and holidays present
             legitimate obstacles to the sealing of tapes. See, e.g.,
             United States v. Gallo, 863 F.2d 185, 193 (2d Cir. 1988),
             cert. denied, 489 U.S. 1083, 109 S.Ct. 1539, 103 L.Ed.2d
             843 (1989); United States v. McGrath, 622 F.2d 36, 42-43
             (2d Cir. 1980).

United States v. Wong, 40 F.3d 1347, 1375 (2d Cir. 1994).


             Since the recordings at issue were made available to Judge Skretny within

two (2) days after the last electronic interception on August 7, 2004, there has been

compliance with the sealing requirements set forth in 18 U.S.C. § 2518(8)(a) and

therefore, it is RECOMMENDED that defendant’s motion to suppress in this regard be

DENIED.




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              4.     Defendant’s Request For A Taint Hearing:

              The defendant argues that since there were “electronic surveillance

defects,” i.e., a lack of probable cause, a lack of necessity, and a sealing violation,

“there should be a taint hearing to ascertain the full nature and extent of the illegal

electronic surveillance.” (Docket #40, ¶¶ 45, 46).



              Although this Court believes that it has jurisdictional authority to make a

dispositive decision on this request, I have refrained from doing so because this request

is substantially integrated with the defendant’s motion to suppress the wiretap evidence

and instead, hereby make my recommendation to the district judge as to this request.

Since this Court has found that deference must be given to Judge Elfvin’s and Judge

Skretny’s determinations that the applications for the intercept orders of May 14, 2004,

June 11, 2004 and July 9, 2004 were sufficient for the issuance of these orders, and

that defendant’s assertions that the intercept orders were invalid are without legal merit

for the reasons previously set forth herein, it is RECOMMENDED that the defendant’s

request for a “taint hearing” be DENIED.



                                      CONCLUSION

              Based on the foregoing, it is hereby RECOMMENDED that defendant’s

motion to suppress all “electronic eavesdropping evidence” be DENIED in its entirety;

and it is hereby




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                ORDERED pursuant to 28 U.S.C. § 636(b)(1) that:



               This Report, Recommendation and Order be filed with the Clerk of the

 Court.



               ANY OBJECTIONS to this Report, Recommendation and Order must be

 filed with the Clerk of this Court within ten (10) days after receipt of a copy of this

 Report, Recommendation and Order in accordance with the above statute,

 Fed.R.Crim.P. 58(g)(2) and Local Rule 58.2.



               The district judge will ordinarily refuse to consider de novo, arguments,

 case law and/or evidentiary material which could have been, but were not presented to

 the magistrate judge in the first instance. See, e.g., Patterson-Leitch Co., Inc. v.

 Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988).

 Failure to file objections within the specified time or to request an extension of

 such time waives the right to appeal the District Judge's Order. Thomas v. Arn,

 474 U.S. 140 (1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir.

 1988).



               The parties are reminded that, pursuant to Rule 58.2 of the Local Rules

for the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and



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the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of

Rule 58.2 (concerning objections to a Magistrate Judge's Report,

Recommendation and Order), may result in the District Judge's refusal to

consider the objection.


                                                  /s/ H. Kenneth Schorder, Jr.
                                                  H. KENNETH SCHROEDER, JR.
                                                  United States Magistrate Judge


 DATED:       Buffalo, New York
              September 2, 2005




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